   Case 1:22-cv-01320-MN Document 16 Filed 02/15/24 Page 1 of 5 PageID #: 88




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  NETWORK-1 TECHNOLOGIES, INC.,

                  Plaintiff,

          v.                                                   C.A. No. 22-1320-MN

  HONEYWELL INTERNATIONAL INC.,

                  Defendant.


                  MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 83.5 and the attached certifications, counsel moves the admission

pro hac vice of Devon C. Beane, Nathan J. Fuller, and Jared R. Lund of K&L Gates LLP, 70

West Madison Street, Suite 3100, Chicago, Illinois 60602 to represent defendant Honeywell

International, Inc. in this matter.


Dated: February 15, 2024                            K&L GATES LLP

                                                    /s/ Steven L. Caponi
                                                    Steven L. Caponi (No. 3484)
                                                    Matthew B. Goeller (No. 6283)
                                                    600 N. King Street, Suite 901
                                                    Wilmington, DE 19801
                                                    Phone: (302) 416-7080
                                                    steven.caponi@klgates.com
                                                    matthew.goeller@kglates.com

                                                    Attorneys for Defendant Honeywell
                                                    International, Inc.
  Case 1:22-cv-01320-MN Document 16 Filed 02/15/24 Page 2 of 5 PageID #: 89




                               ORDER GRANTING MOTION


       IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice of Devon

C. Beane, Nathan J. Fuller, and Jared R. Lund on behalf of Defendant is granted.




Dated: _____________                                ___________________________________
                                                    United States District Judge
  Case 1:22-cv-01320-MN Document 16 Filed 02/15/24 Page 3 of 5 PageID #: 90




         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of Illinois and pursuant to

Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged misconduct

which occurs in the preparation or course of this action. I also certify that I am generally

familiar with this Court’s Local Rules. I further certify that the annual fee of $50.00 has been

paid to the Clerk of Court, or, if not paid previously, the fee payment will be submitted to the

Clerk’s Office upon the filing of this motion.

Dated: February 15, 2024                           /s/ Devon C. Beane
                                                   Devon C. Beane
                                                   K&L Gates LLP
                                                   70 West Madison Street, Suite 3100
                                                   Chicago, IL 60602
                                                   Phone: (312) 372-1121
                                                   devon.beane@klgates.com
  Case 1:22-cv-01320-MN Document 16 Filed 02/15/24 Page 4 of 5 PageID #: 91




         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of Illinois and

pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged

misconduct which occurs in the preparation or course of this action. I also certify that I am

generally familiar with this Court’s Local Rules. I further certify that the annual fee of $50.00

has been paid to the Clerk of Court, or, if not paid previously, the fee payment will be submitted

to the Clerk’s Office upon the filing of this motion.

Dated: February 15, 2024                                /s/ Nathan J. Fuller
                                                        Nathan J. Fuller
                                                        K&L Gates LLP
                                                        70 West Madison Street, Suite 3100
                                                        Chicago, IL 60602
                                                        Phone: (312) 372-1121
                                                        nathan.fuller@klgates.com
  Case 1:22-cv-01320-MN Document 16 Filed 02/15/24 Page 5 of 5 PageID #: 92




         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of Illinois and

pursuant to Local Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged

misconduct which occurs in the preparation or course of this action. I also certify that I am

generally familiar with this Court’s Local Rules. I further certify that the annual fee of $50.00

has been paid to the Clerk of Court, or, if not paid previously, the fee payment will be submitted

to the Clerk’s Office upon the filing of this motion.

Dated: February 15, 2024                                /s/ Jared R. Lund
                                                        Jared R. Lund
                                                        K&L Gates LLP
                                                        70 West Madison Street, Suite 3100
                                                        Chicago, IL 60602
                                                        Phone: (312) 372-1121
                                                        jared.lund@klgates.com
